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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                                       MACON DIVISION

JUSTIN KRAGE and AIDEN                          |




RENFROE,                                        I




                                                I




         Plaintiffs                             I




                                                l




v.                                              |
                                                      CIVIL ACTION NO.
                                                |




MACON—BIBB COUNTY,                              |




GEORGIA and BIBB COUNTY                         I




SHERIFF’S OFFICE,                               |




                                                l




         Defendants                             |




                          COMPLAINT FOR DAMAGES

         COME NOW,            Justin    Krage       (hereinafter “Plaintiff Krage”)   and Aiden

Renfroe (hereinafter “Plaintiff Renfroe”), Plaintiffs in the above—captioned               civil



action,   and ﬁle     their   Complaint for Damages against the named Defendants,

showing    this   Honorable Court the following:


                                           OVERVIEW
                                                      1.




         Plaintiffs bring this action to recover           unpaid overtime wages for “on—call”



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time pursuant to the Fair Labor Standards Act (hereinaﬁer “FLSA”), 29 U.S.C. §201


et.   seq.,   and    to recover   unpaid “on—call” (“stand-by”) wages pursuant to Sections


6.06 and 7.05 of the Macon—Bibb County Government Policies and Procedures


Manual (adopted on December                    31, 2013) (“the Manual”),       and pursuant to Sheriff

David Davis’ October               6,        2017 Directive/On-Call Pay Guidelines regarding

“stand—by” pay (the “Directive”).


                                                         2.



         At    all    times relevant to this Complaint, Plaintiffs were employed by


Defendants working in the Trafﬁc Fatality Unit of the Bibb County Sheriff s Ofﬁce


(“BCSO”).

                                                         3.



         Defendants willfully failed to pay Plaintiffs overtime wages for excess hours


worked        in violation    of the FLSA, speciﬁcally compensation                  for hours spent


“on-call,”     where the     Plaintiffs       were   restricted   from effectively using   their time for


personal use.


                                                         4.


         Plaintiffs    do not qualify for any overtime-exempt positions as deﬁned by the

FLSA, and should thus be paid overtime                   in accordance with these laws.



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                                                   5.



         In addition, the Macon-Bibb County Government Policies and Procedures


Manual, Sections 6.06 and 7.05, as well as the Directive issued by Sheriff Davis,

required the Defendants to compensate Plaintiffs for “on—call” pay as Plaintiffs were


non—exempt employees on the Defendants’ on-call                   list.




                                                   6.



         Accordingly,    Plaintiffs       bring   this   action     to    recover   unpaid     overtime


compensation owed to them under the FLSA, 29 U.S.C. §216(b), and to recover

unpaid wages for “on—call” time in accordance with the Manual and Directive.


                                JURISDICTION AND VENLLE

                                                   7.



         Plaintiffs re—allege   and incorporate the averments in paragraphs             1~6.



                                                   8.



         This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.


§ 1331,    29 U.S.C. §216(b) and 28 U.S.C. 1367.

                                                   9.



         Plaintiffs are residents   of the State of Georgia.




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                                                      1   O.



         Defendant Bibb County Sheriff’s Ofﬁce (“BCSO”)                            is   a part of Defendant


Macon-Bibb County, Georgia’s (“County”) consolidated government, and is                                 subject


to the jurisdiction     of this Court.

                                                      1 1.




         Defendant     BCSO may be served with summons and a copy of the Complaint

at its principal   ofﬁce, located at 668 Oglethorpe Street, Macon, Georgia 3 1201.


                                                      12.


         Defendant County       is   a consolidated governmental agency, and                     is   subject to


the jurisdiction of this Court.


                                                      13.


         Defendant County      may be          served with      summons and a copy of the Complaint

at its principal   ofﬁce, located         at   700 Poplar      Street,   Macon, Georgia 3 1201.

                                                      14.


         Venue   is   proper in this Court pursuant to 28 U.S.C. §1391                    (c).



                                           FLSA COVERAGE

                                                      1 5.




          Plaintiffs re-allege   and incorporate the averments in paragraphs 1—14.



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                                                      16.


         At   all   times relevant to this Complaint, each Defendant was an “employer”


within the meaning of the         FLSA 29 U.S.C.                  § 203(d).


                                                      1   7   .




         At all times relevant to this Complaint, each Defendant was a “public agency”

within the meaning 0f the         FLSA, 29 U.S.C.                 §   203 (X).

                                                      1 8.




         Plaintiffs    have not and do not qualify as a member of any of the deﬁned

classes of employees that           would be exempt from overtime compensation                           as


enumerated in the FLSA, 29 U.S.C.             § 213(b).


                                               £139.13.


                                                 19.


          Plaintiffs re—allege    and incorporate the averments                  in paragraphs 1-18.


                                                 20.


         The   on—call/stand-by policy for      all   County employees (including             Plaintiffs) is


laid out in the     Manual, which was approved and adopted by County Commissioners

on December         3 1, 2013.   The on—call/stand—by policy was speciﬁcally addressed to




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all   employees of the      BCSO    (including Plaintiffs)          by Directive issued October       6,


2017.


                                                21.


          The Manual/Directive      stated that Plaintiffs, while          employed by Defendants,

were     entitled to   compensation for two additional stand-by hours, paid            at their   hourly

            -each
rate, for           weekday on which they were on           call,   and   for four additional stand—by


hours, paid at their hourly rate, for each Saturday,                Sunday or Holiday they were on

call,   regardless of Whether they were actually required to respond to a call.


                                                 22.


          Upon   information and belief, in the past three (3) years, while employed by


Defendants in his capacity as a Trafﬁc Fatality Unit ofﬁcer, Plaintiff Krage was


onacall for approximately         two thousand        six   hundred forty—six (2,646) hours for


which he was not compensated.

                                                 23.


          Upon   information and belief, in the past three (3) years, While employed by


Defendants in his capacity as a Trafﬁc Fatality Unit ofﬁcer, Plaintiff Renfroe was


on—call for approximately seven          hundred ninety—one (791) hours for which he was


not compensated.



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                                                   24.


         As    laid out in Sections 6.06         and 7.05 of the Manual, as well as in the

Directive, while on—call, Plaintiffs received a cell          phone and/or pager that they were

required to carry at    all   times, inclusive of evenings, holidays and weekends.


                                                   25.


         While   on—call, Plaintiffs     were not free to consume alcohol, and were restricted

in   where they could         travel, as Plaintiffs      were required to respond within       thirty


minutes to an hour of the        call    being received.


                                                   26.


         The Trafﬁc    Fatality Unit’s on-call policy restricted Plaintiffs          from effectively

using their time for personal use.             Therefore, the on-call hours constituted hours


“worked” under the FSLA.


                                         FLSA VIOLATIONS

                                                   27.


         Plaintiffs re—allege    and incorporate the averments         in paragraphs 1—26.


                                                   28.


         The   willful failure   0f Defendants to compensate         Plaintiffs at   one and one—half

times their regular pay rate for such hours worked             is   a Violation of 29 U.S.C. § 207.



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                                                   29.


          Such violation   is   redressable      by the      Plaintiffs   under 29 U.S.C. § 216(b),


entitling   them to   liquidated damages, attorney’s fees and expenses of litigation.


                                                   30.


          Defendants are   liable to Plaintiffs      under the         FLSA    for the   amount of their

unpaid compensation for overtime work performed beginning three years before the


commencement of         this action, for liquidated            damages, for reasonable attorneys’

fees,    and for costs and disbursements of this             action.


                                                   31   .




          The employment and work records                   for the Plaintiffs are in the possession,


custody and control of the Defendants, and the Plaintiffs are unable to state precisely


at this   time the exact amounts owing to them. The Defendants are under a duty


imposed by 29 U.S.C. §21 1(c) and the regulations of the United States Department

of Labor to maintain and preserve payroll and other employment records with


respect to Plaintiffs from      which     all   or part of the amounts of Defendants’ liability


can be ascertained.




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                               MANUAL/DIRECTIVE VIOLATIONS

                                                         32.


         Plaintiffs re-allege           and incorporate the averments in paragraphs 1-3 1.

                                                         33.


         Plaintiffs are likewise entitled to            “on    call”   pay in accordance with the Manual,

Sections 6.06 and 7.05, as well as the Directive, which state in pertinent part as


follows:


         As     compensation for the on-call time, the employee will be paid
              for
         as though he/she actually worked two hours for each day on Which
         he/she is on call and four hours for each Saturday, Sunday or Holiday
         he/she     is   on   call regardless      of whether he/she       is   actually required to
         respond to a         call.

         The   rateof pay for actual work time While on call shall be in
         accordance with MBCG pay policy regarding overtime pay. In the
         event the on—call employee must respond to a call during the on-call
         time, he/she will be paid for any time actually worked above and
         beyond the       on-call listed above.


                                                         34.


         Since the inception ofthis policy, Defendants have willfully failed to


compensate      Plaintiffs for          any of    their time spent on—call or              on stand—by,

constituting a Violation              of Defendants’    own policies and procedures.




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         WHEREFORE, Plaintiffs pray for the following relief:

                A.)    That summons issue as required by law;


                B.)    That they have a trial by jury;


                c.)    That the Court issue a ﬁnding that Defendants willfully violated


                       the   FLSA;

                D.)    That they have judgment for their uncompensated overtime


                       hours spent on-call during the past three (3) years;


                E-)    That they have judgment for liquidated damages authorized


                       under the    FLSA      for Defendants’ willful Violations over the past


                       three (3) years;


                F.)    That they have judgment for their attorney’s fees and expenses


                       of litigation;


                G.)    That they have judgment for pre-judgment                 interest   on   all   unpaid


                       compensation and damages owed;


                H)     That they have judgment for        all   unpaid on~ca11 or stand—by hours


                       pursuant to the Manual and Directive;


                1.)    That they receive such other and further relief as                   is   just and


                       proper.



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                      M
          This   /z   day of August, 2019.



                                               KW/M
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